              Case 1:21-cr-00451-CJN Document 20 Filed 07/02/21 Page 1 of 2


                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                      :     Case No.
                                               :
                                               :     VIOLATIONS:
                                               :
         v.                                    :     (18 U.S.C. 1752(a)(1)
                                               :     (Entering or Remaining in Restricted
SUZANNE IANNI,                                 :     Building or Grounds)
                                               :     18 U.S.C. § 1752(a)(2)
         Defendant.                            :     (Disorderly and Disruptive Conduct in a
                                               :     Restricted Building or Grounds)
                                               :     40 U.S.C. § 5104(e)(2)(D)
                                               :     (Disorderly Conduct in
                                               :     a Capitol Building)



                                        INFORMATION

         The United States Attorney charges:

                                          COUNT ONE

         On or about January 6, 2021, in the District of Columbia, SUZANNE IANNI, did

unlawfully and knowingly enter and remain in a restricted building and grounds, that is, any posted,

cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where

the Vice President and Vice President-elect were temporarily visiting, without lawful authority to

do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18, United
States Code, Section 1752(a)(1))

                                         COUNT TWO

         On or about January 6, 2021, in the District of Columbia, SUZANNE IANNI, did

knowingly, and with intent to impede and disrupt the orderly conduct of Government business and

official functions, engage in disorderly and disruptive conduct in and within such proximity to, a
          Case 1:21-cr-00451-CJN Document 20 Filed 07/02/21 Page 2 of 2


restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area

within the United States Capitol and its grounds, where the Vice President and Vice President-

elect were temporarily visiting, when and so that such conduct did in fact impede and disrupt the

orderly conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation of Title
18, United States Code, Section 1752(a)(2))

                                        COUNT THREE

       On or about January 6, 2021, in the District of Columbia, SUZANNE IANNI, willfully

and knowingly engaged in disorderly and disruptive conduct in any of the Capitol Buildings with

the intent to impede, disrupt, and disturb the orderly conduct of a session of Congress and either

House of Congress, and the orderly conduct in that building of a hearing before or any deliberation

of, a committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code, Section
5104(e)(2)(D))


                                             CHANNING PHILLIPS
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                                             D.C. Bar No. 415793


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